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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA                          B~;ULIA cfD~CLERK
                              ROANOKE DIVISION                                       DEJ UTY CLERK

                            DECEMBER 2019 SESSION

UNITED STATES OF AMERICA                   )       Criminal No . 7: 19-cr-00081
                                           )
                                           )       SUPERSEDING INDICTMENT
v.                                         )
                                           )       In Violation of:
                                           )
AMINEE JEWELL DAVENPORT, and               )              21 U.S.C. § 846
ANTHONY BRIAN BARNETT                      )              21 U.S.C. § 841(a)(l)
                                           )


                                      COUNT ONE

The Grand Jury charges:

       1.     That beginning not later than December 2018 and continuing through on or

about August 2019, in the Western District of Virginia, the defendants, AMINEE

JEWELL DAVENPORT and ANTHONY BRIAN BARNETT, did knowingly and

intentionally combine, conspire, confederate and agree, with each other and with ·persons

known and unknown to the Grand Jury, to possess with the intent to distribute and to

distribute the following controlled substances, to wit:

       (a)    500 grams or more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21 ,

United States Code, Sections 841(a)(l) and (b)(l)(A);

       (b)    500 grams or more of a mixture and substance containing a detectable

amount of cocaine, a Schedule II substance, in violation of Title 21, United States Code,

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Sections 841(a)(l) and (b)(l)(B); and

       (c)    100 grams or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I controlled substance, in violation of Title 21 , United

States Code, Sections 841(a)(l) and (b)(l)(B).

       2.     Before the defendant, ANTHONY BRIAN BARNETT, committed the

offense charged in this count, he was convicted of a serious violent felony ; to wit, a

conviction under Virginia Code Annotated, Section 18.2-51 , for which he served more

than 12 months of imprisonment.

       3.     All in violation of Title 21 , United States Code, Sections 846 and 841(a)(l),

(b)(1)(A) and (b)(l)(B).

                                      COUNT TWO

The Grand Jury further charges:

       1.     That on or about July 24, 2019, in the Western District of Virginia, the

defendant, AMINEE JEWELL DAVENPORT, did knowingly and intentionally distribute

100 grams or more of a mixture and substance containing a detectable amount of heroin,

a Schedule I controlled substance.

       2.     All in violation of Title 21 , United States Code, Sections 841(a)(1) and

(b)(l)(B).

                                     COUNT THREE

The Grand Jury further charges:

       1.     That on or about August 1, 2019, in the Western District of Virginia, the
                                              2
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defendant, AMINEE JEWELL DAVENPORT, did knowingly and intentionally distribute

100 grams or more of a mixture and substance containing a detectable amount of heroin,

a Schedule I controlled substance.

       2.    All in violation of Title 21 , United States Code, Sections 841(a)(1) and

(b)(1)(B).

                                     COUNT FOUR

The Grand Jury further charges:

       1.    That on or about August 7, 2019, in the Western District of Virginia, the

defendant, AMINEE JEWELL DAVENPORT, did knowingly and intentionally possess

with the intent to distribute 500 grams or more of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance.

       2.    All in violation of Title 21 , United States Code, Sections 841(a)(l) and

(b)(1)(A).

                                     COUNT FIVE

The Grand Jury further charges:

       1.    That on or about August 7, 2019, in the Western District of Virginia, the

defendant, AMINEE JEWELL DAVENPORT, did knowingly and intentionally possess

with the intent to distribute 500 grams or more of a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance.

       2.    All in violation of Title 21 , United States Code, Sections 841(a)(l) and

(b)(l)(B).
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                                           COUNT SIX

The Grand Jury further charges:

         1.       That on or about August 7, 2019, in the Western District of Virginia, the

defendant, AMINEE JEWELL DAVENPORT, did knowingly and intentionally possess

with the intent to distribute 100 grams or more of a mixture and substance containing a

detectable amount of heroin, a Schedule I controlled substance.

        2.        All in violation ofTitle 21 , United States Code, Sections 841(a)(l) and

(b )(1 )(B).

                                  NOTICE OF FORFEITURE

        1.        Upon conviction of one or more of the felony offenses alleged in this

charging document, the defendants, AMINEE JEWELL DAVENPORT and ANTHONY

BRIAN BARNETT, shall forfeit to the United States:

               a. any property constituting, or derived from, any proceeds obtained,
                  directly or indirectly, as a result of said offenses, pursuant to 21
                  U.S.C. § 853(a)(1).

               b. any property used, or intended to be used, in any manner or part, to
                  commit, or to facilitate the commission of said offenses, pursuant to
                  21 U.S.C. § 853(a)(2).

        2.        The property to be forfeited to the United States includes but is not limited

to the following property:

               a. U.S. Currency

                  Not less than $19,340.00 in U.S. Currency and all interest and proceeds
                  traceable thereto, in that such sum in the aggregate was obtained directly or
                  indirectly as a result of the aforestated offenses, or is traceable to such
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                 property.

       3.        If any of the above-described forfeitable property, as a result of any act or

                 omission of the defendants:

            a.   cannot be located upon the exercise of due diligence;
            b.   has been transferred or sold to, or deposited with a third person;
            c.   has been placed beyond the jurisdiction of the Court;
            d.   has been substantially diminished in value; or
            e.   has been commingled with other property which cannot be
                 subdivided without difficulty;

it is the intent of the United States to seek forfeiture of any other property of the

defendant up to the value of the above-described forfeitable property, pursuant to 21

U.S .C. § 853(p).

       A TRUE BILL this       _lJ__ day of December, 2019 .

                                                           Is/ Grand Jury Foreperson
                                                           FOREPERSON




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